Case: 2:08-cr-00213-GCS-NMK Doc #: 69 Filed: 08/17/15 Page: 1 of 2 PAGEID #: 285




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,

                         Plaintiff,

v.                                                            Case No.: 2:08-CR-213 (1)
                                                              JUDGE SMITH

JACKIE L. DAUGHERTY,
                                                              Date of Amended Judgment:
                         Defendant.                           October 14, 2009


                                             ORDER
        This matter is before the Court on the Defendant’s Motion to Reduce Sentence, pursuant
to 18 U.S.C. §3582(c)(2), in an “Agreed Disposition Case.” (Doc. 67). Defendant was originally
sentenced on September 16, 2009 to 120 months imprisonment for conspiracy to distribute and
possess with intent to distribute 100 kilograms or more of marijuana. Defendant’s advisory
sentencing guideline range was 120 to 150 months, based on an offense level 27 and criminal
history category V.
        On November 1, 2014, the United States Sentencing Commission promulgated Guideline
Amendment 782, which reduced by two levels the offense levels assigned to the drug quantities
set forth in §2D1.1 of the United States Sentencing Guidelines, as well as parallel changes for
the listed chemicals found in §2D1.11. Defendants who are currently imprisoned for these drug
offenses are eligible for retroactive application of the guidelines as long as they meet certain
eligibility criteria.
        Counsel for the government, defense counsel, and representatives of the United States
Probation Department have met and are in agreement that Defendant meets the Sentencing
Commission’s eligibility requirements for the retroactive application of Amendment 782 to his
case. After considering the original guideline range, the extent of any downward departure, the
Case: 2:08-cr-00213-GCS-NMK Doc #: 69 Filed: 08/17/15 Page: 2 of 2 PAGEID #: 286




circumstances of Defendant’s case, and his behavior while incarcerated, the parties jointly
recommend a reduction of Defendant’s sentence from 120 months to 100 months.
       Whether to grant a reduction of sentence pursuant to §3582(c)(2) is within the discretion
of the court. United States v. Ursery, 109 F.3d 1129, 1137 (6th Cir. 1997). In considering
whether a reduced sentence is appropriate, this court must consider the factors in 18 U.S.C.
§3553(a) to the extent that they are applicable. See §3582(c)(2).
       Upon consideration of Defendant’s motion, the statutory sentencing factors set forth in
§3553(a), and the joint recommendation of the parties, the Court concludes that Defendant’s
offense level should be reduced from a 27 to a 25, which yields a new advisory guideline range
of 100 to 125 months. Therefore, a reduction of Defendant’s term of incarceration is appropriate
in light of the reduction in the applicable guideline range. The sentence of 120 months
incarceration previously imposed in this case is hereby reduced to a term of incarceration of 100
months. Under Amendment 782, Defendant’s release date shall be no earlier than November 1,
2015. Except as provided above, all other provisions of the judgment previously entered in this
case shall remain in effect.
       The Clerk shall remove Document 67 from the Court’s pending motion’s list.
               IT IS SO ORDERED.


                                                      /s/ George C. Smith
                                                     GEORGE C. SMITH, JUDGE
                                                     UNITED STATES DISTRICT COURT


Order Date:    August 17, 2015

Effective Date: November 1, 2015




                                               -2-
